            Case 1:15-vv-00469-UNJ Document 24 Filed 04/01/16 Page 1 of 8




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 15-469V
                                          (Not to be published)

*************************
JOSEPH STOUT,                          *
                                       *       Filed: March 11, 2016
                   Petitioner,         *
                                       *       Decision by Stipulation; Damages;
            v.                         *       Influenza (“flu”) Vaccine;
                                       *       Guillain-Barré syndrome (“GBS”);
                                       *       Attorneys’ Fees & Costs
SECRETARY OF HEALTH AND                *
HUMAN SERVICES,                        *
                                       *
                   Respondent.         *
                                       *
*************************
Howard Dale Mishkind, Mishkind Law Firm Co., L.P.A., Beachwood, OH, for Petitioner.

Gordon Shemin, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                DECISION AWARDING DAMAGES AND ATTORNEYS’ FEES1

        On May 8, 2015, Petitioner Joseph Stout filed an action seeking compensation under the
National Vaccine Injury Compensation Program (the “Vaccine Program”)2. Petitioner alleges that
he suffered Guillain-Barré syndrome (“GBS”) and related complications as a result of receiving
an influenza (“flu”) vaccine on or about November 30, 2012.




1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
(Id.)
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34 (West
1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
            Case 1:15-vv-00469-UNJ Document 24 Filed 04/01/16 Page 2 of 8



        Respondent denies that Mr. Stout’s GBS or any related medical problems were caused by
his receipt of the flu vaccine. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation filed March 10, 2016 that the issues before them can be settled,
and that a decision should be entered awarding Petitioner compensation. ECF No. 15.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

         The stipulation awards:

                     A lump sum of $165,000.00, in the form of a check payable to petitioner. This
                     amount represents compensation for all damages that would be available under
                     42 U.S.C. §300aa-15(a).

ECF No. 15 at ¶ 8.

       On March 10, 2016, the parties also filed a stipulation, this time in regards to attorney’s
fees and costs incurred in this case. ECF No. 16. I conclude that the parties’ stipulation on
attorney’s fees and costs is also reasonable. I therefore adopt it as my decision in awarding
damages on the terms set forth therein.

         The stipulation awards:

                     A lump sum of $23,091.28 in the form of a check payable jointly to petitioner
                     and petitioner’s attorney, Howard D. Mishkind, for [all] attorneys’ fees and costs
                     available under 42 U.S.C. § 300aa-15(e).

ECF No. 16 at ¶ 2.3

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In addition, I also approve of the attorney’s fees and costs in the requested amount to
be made payable to Petitioner and Petitioner’s counsel. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment herewith.4

         IT IS SO ORDERED.

                                                                      /s/ Brian H. Corcoran
                                                                         Brian H. Corcoran

3
  This section of the stipulation also contained a statement in accordance with General Order No. 9 of the Vaccine
Program, indicating that Petitioner had incurred no reimbursable costs in pursuit of his claim.
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly (or separately) filing notice(s)
renouncing their right to seek review.

                                                           2
Case 1:15-vv-00469-UNJ Document 24 Filed 04/01/16 Page 3 of 8



                                       Special Master




                              3
Case 1:15-vv-00469-UNJ Document 24
                                15 Filed 04/01/16
                                         03/10/16 Page 4
                                                       1 of 8
                                                            5
Case 1:15-vv-00469-UNJ Document 24
                                15 Filed 04/01/16
                                         03/10/16 Page 5
                                                       2 of 8
                                                            5
Case 1:15-vv-00469-UNJ Document 24
                                15 Filed 04/01/16
                                         03/10/16 Page 6
                                                       3 of 8
                                                            5
Case 1:15-vv-00469-UNJ Document 24
                                15 Filed 04/01/16
                                         03/10/16 Page 7
                                                       4 of 8
                                                            5
Case 1:15-vv-00469-UNJ Document 24
                                15 Filed 04/01/16
                                         03/10/16 Page 8
                                                       5 of 8
                                                            5
